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 6                IN THE UNITED STATES DISTRICT COURT FOR THE

 7                        EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                     Plaintiff,
                                               CR. NO. S-95-0020 EJG
11               v.                            CIV. NO. S-09-0375 EJG

12   JUAN RAMIREZ CAMPOS,                      ORDER DENYING 2255 MOTION

13                  Defendant.
     _____________________________/
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15        This matter is before the court on defendant’s motion to

16   vacate, set aside or correct his sentence pursuant to 28 U.S.C. §

17   2255.    After reviewing the record, the documents filed in

18   connection with the motion, as well as the applicable law, the

19   court has determined that the motion may be decided without a

20   hearing and without service on the United States Attorney because

21   the files and records of the case conclusively establish that, if

22   construed as an original motion, it is time-barred.

23   Alternatively, if construed as a successive § 2255 motion, the

24   court lacks jurisdiction.       For the reasons set forth below, the

25   motion is DENIED.

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 1                                 BACKGROUND

 2        Defendant was convicted by jury June 5, 1996, of one count

 3   of conspiracy to possess methamphetamine with intent to

 4   distribute more than 1000 grams, in violation of 21 U.S.C. § 846,

 5   and one count of possession of methamphetamine with intent to

 6   distribute, in violation of 21 U.S.C. § 841.       In addition, an

 7   information charged defendant with prior felony drug convictions,

 8   pursuant to 21 U.S.C. § 851.     Judgment was entered November 12,

 9   1996, and defendant was sentenced to a term of 360 months

10   imprisonment and 60 months supervised release.        The convictions

11   were affirmed on appeal in an unpublished memorandum filed

12   December of 1997.

13        Almost ten years later, in October 2007, defendant filed a

14   document styled “plaintiff’s original complaint” in which he

15   sought to set aside his convictions pursuant to Federal Rule of

16   Civil Procedure 60(b), citing Lopez v. Gonzalez, 549 U.S. 47, 127

17   S.Ct. 625 (2006), contending he was unlawfully adjudicated a

18   career criminal.    Although the civil complaint clearly sought

19   relief available only via a § 2255 motion, the court was

20   constrained by the Supreme Court’s opinion in Castro v. United

21   States, 540 U.S. 375, 382-83 (2003), which requires notice to and

22   consent from a defendant before a document can be re-

23   characterized as a § 2255 motion.      Therefore, in an order filed

24   January 9, 2008, the court dismissed the complaint and denied

25   defendant’s Rule 60(b) motion.     On February 13, 2008, the Ninth

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 1   Circuit Court of Appeals, apparently not believing itself

 2   constrained by Castro, issued an order construing defendant’s

 3   2007 “complaint” and Rule 60(b) motion as a § 2255 motion even

 4   though not labeled as such, and directed the district court to

 5   grant or deny a certificate of appealability, pursuant to 28

 6   U.S.C. § 2253.   Subsequently, in an order filed February 19,

 7   2008, the district court denied defendant’s request for a

 8   certificate of appealability. The appellate court followed suit,

 9   issuing its own denial in an order filed November 14, 2008.

10        Undeterred by either this court or the appellate court,

11   defendant filed the instant § 2255 motion January 14, 2009,

12   raising the same issue contained in his 2007 civil complaint and

13   Rule 60(b) motion.

14                                 DISCUSSION

15        A. § 2255 motion is untimely

16        Motions brought pursuant to section 2255 of Title 28 are

17   subject to a one year statute of limitations.       The one year

18   period runs from one of four dates set forth in the statute.           See

19   28 U.S.C. § 2255(1-4).    The date applicable in the instant case

20   is that on which “the judgment of conviction became final.”           28

21   U.S.C. § 2255(1).    A judgment of conviction becomes final after

22   judgment has been entered, the availability of appeal has been

23   exhausted, and the time for filing a certiorari petition has

24   elapsed or the petition has been denied.       Griffith v. Kentucky,

25   107 S.Ct. 708, 712 n.6 (1987). Here, judgment was entered

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 1   November 12, 1996 and the conviction was affirmed on appeal

 2   December 11, 1997 by the Ninth Circuit Court of Appeals.

 3   Defendant did not seek further review, so the judgment became

 4   final ninety days after entry of the affirmance on the docket, or

 5   March 11, 1998.   Accordingly, the instant § 2255 motion is

 6   untimely by almost eleven years.

 7        Recognizing this impediment to relief, defendant appears to

 8   argue that the statute of limitations was tolled while he pursued

 9   his civil complaint and Rule 60(b) motion through the district

10   and appellate courts.   In support he cites subsection (f)(3) of

11   section 2255 which provides that the one year limitations period

12   begins to run from the date on which the right asserted was

13   initially recognized by the Supreme Court if the right was newly

14   recognized and made retroactively applicable to cases on

15   collateral review.   This argument is not persuasive.        Assuming

16   for purposes of argument that Lopez created a new right and that

17   right was made retroactive to cases pending on collateral review,

18   defendant’s request for relief is still untimely, since his §

19   2255 motion was not filed until January of 2009, more than two

20   years after the Lopez decision. Nothing in section 2255 supports

21   defendant’s argument that a civil complaint and Rule 60(b) motion

22   operate to toll the one-year statute of limitations.

23        B.   Second/successive § 2255 motion

24        In the alternative, if the civil complaint and Rule 60(b)

25   motion are construed as defendant’s initial § 2255 motion, the

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 1   instant motion filed in January of this year is a successive

 2   motion, over which this court lacks jurisdiction.        The

 3   Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”)

 4   limits a defendant’s ability to file multiple § 2255 motions.

 5   The Act requires a defendant to obtain pre-authorization from the

 6   appropriate circuit court of appeals prior to filing a successive

 7   2255 motion in the district court.      See 28 U.S.C. §

 8   2244(b)(3)(A); 28 U.S.C. § 2255(h).      To obtain such

 9   authorization, defendant must demonstrate to the appellate court

10   that his motion contains newly discovered evidence tending to

11   show actual innocence or involves a new rule of constitutional

12   law made retroactive to cases on collateral review by the Supreme

13   Court.    In the instant case defendant relies on the latter,

14   arguing that the 2006 Supreme Court Lopez case operates as a new

15   rule of constitutional law, which, if applied to his case, would

16   reduce his sentence.    While this court sees several impediments

17   in his way, whether defendant can obtain the pre-authorization

18   needed to file a successive § 2255 motion is a matter for the

19   Ninth Circuit, and not the undersigned.

20        C.    Merits

21        Even were the court able to satisfy itself of jurisdiction

22   and reach the merits, defendant’s motion would fail.           He has

23   failed to provide any evidence, other than his own

24   unsubstantiated statements, that his sentence was unlawfully

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 1   enhanced to Career Offender.1

 2                                            CONCLUSION

 3          Defendant’s § 2255 motion to vacate, set aside or correct

 4   his sentence is DENIED as untimely.                    The Clerk of Court shall

 5   close companion civil case No. S-09-0375 EJG.

 6          IT IS SO ORDERED.

 7   Dated: April 3, 2009

 8                                               /s/Edward J. Garcia
                                                 EDWARD J. GARCIA, JUDGE
 9                                               UNITED STATES DISTRICT COURT

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             Despite references to Exhibits, none are attached to, nor were any provided with,
25   defendant’s motion and points and authorities.
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